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UNITED STATES DISTRICT CoURT
for the

Central District of California

In the Matter of the Search of:
Information associated with the account described in
Attachment A within the possession, custody, or
control of Dropbox, Inc.

Case No. 2:18-MJ-l488

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WARRANT PURSUANT TO 18 U.S.C. § 2703
To: Any Authorized Law Enforcement Officer
An application by a federal law enforcement officer requests the production and search of the following data:
See Attachment A
The data to be produced and searched, described above, are believed to contain the following:
See Attachment B

l find that the affidavit, or any recorded testimony, establishes probable cause to produce and search the data
described in Attachment A, and to seize the data described in Attachment B. Attachments A and B are
incorporated herein by reference.

AUTHORIZED LAW ENFORCEMENT OFFICER/S IS/ARE HEREBY COMMANDED to serve this
warrant on Dropbox, Inc. in the daytime, between the hours of 6:()0 a.m. and 10:00 p.m., within 14 days from
the date of its issuance.

DROPBOX, INC. IS HEREBY COMMANDED to produce the information described in Attachment A
within 10 calendar days of the date of service of this order. DROPBOX, INC. lS FURTHER
COMMANDED to comply with the further orders set forth in Attachment B.

'I`he officer executing this warrant, or an officer present during the execution, shall prepare an inventory as
required by law, and shall promptly return this warrant and the inventory to the United States Magistrate Judge
on duty at the time of the return through a filing with the Clerk’s Office.

AUTH()RIZED LAW ENFORCEMENT OFFICER/S IS/ARE FURTHER COMMANDED to perform
the search of the data provided by Dropbox, Inc. pursuant to the procedures set forth in Attachment B.

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Dat@; Iune 8, 2018 @ 5:25 p.m.

 

 

.ludge 's signature

City and State: LOS Ang€les, CA Hon. Rozella A. Oliver
U.S. Magistrate Judge

Prinled name and title

 

 

AUSA: Khaldoun Shobaki x0759

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Return
Case No: Date and time warrant served on provider:
J'.'ch»M_~d-HBS Z)~/q/lg ¢D 9!3=>/4»1
Inventory made in the presence of:
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Inventory of data seized.'
[Please provide a description of the information produced.]

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Certification

 

 

1 declare under penalty of perjury that 1 am an ojj(icer involved in the execution of this warrant, and that this
inventory is correct and was returned along with the original warrant to the designatedjudge through a filing
with the Clerk ’s Of/ice.

Date: ?/q/'L°lg O.'M)_A,_<_:>/f`

 

 

l Executing officer ’s signature
Jese k Ben \

Printed name and title

 

 

